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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 MICHAEL LAWRENCE LOMBARDO,                                    CIVIL ACTION
              Plaintiff,

                v.

 CHRISTOPHER BRYAN LEONARD,                                    NO. 24-1711
 IMS TECHNOLOGY SERVICES, INC.
               Defendants.

                           ORDER FOR RULE 16 CONFERENCE

       AND NOW, this 28th day of April, 2025, IT IS ORDERED that a Fed. R. Civ. P. 16

conference shall be held by videoconference on June 11, 2025 at 10:00 a.m. Counsel for both

parties shall participate using information which will be provided by Chambers.

       IT IS FURTHER ORDERED as follows:

       1.      The parties shall make the required initial disclosures pursuant to Fed. R. Civ. P.

26(a) within fourteen (14) days of the date of this Order;

       2.      The parties shall commence discovery immediately and shall have conducted

substantial discovery before the Rule 16 conference; and

       3.      After consultation with counsel for all parties, counsel shall complete the required

Report of Rule 26(f) Meeting and file the same with the Clerk of Court at least seven (7) days

prior to the Rule 16 conference. Counsel shall use the Report of Rule 26(f) Meeting Form

prescribed by Judge Hodge in her Policies and Procedures.

                                                     BY THE COURT:

                                                     /s/ Hon. Kelley B. Hodge

                                                         HODGE, KELLEY B., J.
